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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                               West Palm Beach Division

IN RE                                                 CASE NO. 17-23426-MAM

ROBERT MATTHEWS,                                      CHAPTER 11

      Debtor.
__________________________________/

               SETH BERNSTEIN’S RESPONSE TO CLAIM OBJECTION

        Seth Bernstein (“Claimant”) responds to the Objection to Claim (ECF#207) filed by the

Debtor, Robert Matthews (“Debtor”), and states:

        1.     Claimant’s Proof of Claim No. 83-2 (“Claim”) is based on a Credit Enhancement

Agreement executed by the Debtor, pursuant to which the Debtor agreed, inter alia, that Claimant

would be entitled to (a) indemnification for any portion of the bond collateral provided by Claimant

for the benefit of the Debtor in connection with a foreclosure proceeding against the Debtor’s

property at 101 Casa Bendita (“Property”); and (b) 25% of the net proceeds from the sale of the

Property.

        2.     The Debtor has objected to the Claim on the basis that “Bond in same amount was

returned to creditor. Moreover, any claimed lien was never perfected. For these reasons, this claim

should be disallowed and stricken in its entirety.”

        3.     Since filing the Claim, Claimant has been granted stay relief to obtain the return of

the bond collateral. Accordingly, Claimant does not dispute that the portion of the Claim for the

bond collateral has been rendered moot and may be disallowed.

        4.     However, Claimant remains entitled to the remainder of the claim, i.e., a claim

equal to 25% of the net proceeds from the sale of the Property – the amount of which will be

liquidated when the Property is sold.

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       5.      Even if the Debtor is correct that any lien associated with the claim is unperfected,

Claimant is in any event entitled to an unsecured claim pursuant to the Credit Enhancement

Agreement. Accordingly, the Debtor’s proposed disposition that the claim should be “disallowed

and stricken in its entirety” is inappropriate and unsupported.

       WHEREFORE, Claimant requests that the Objection to Claim be overruled in part, and

that Claimant’s Claim No. 83-2 be allowed as an unsecured claim in an amount equal to 25% of

the net proceeds of the sale of the Debtor’s Property.

       Dated: November 12, 2018.

                                              KOZYAK TROPIN & THROCKMORTON, LLP
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                                              By:     /s/ David L. Rosendorf
                                                      David L. Rosendorf
                                                      FL Bar No. 996823

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

Court’s CM/ECF notification to those parties who are registered CM/ECF participants in this case

on this 12th day of November, 2018.

                                              By:     /s/ David L. Rosendorf
                                                      David L. Rosendorf




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